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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS



 UNITED STATES OF AMERICA

    v.                                                     No. 1:19-CR-10080-NMG

 GREGORY COLBURN et al.,

                   Defendants



                 MOTION TO PRECLUDE ACCESS TO TRIAL VIA ZOOM

         Defendants Gamal Abdelaziz and John Wilson respectfully request that this Court

reconsider its decision to livestream the upcoming trial by Zoom. The standard in this District is

for the public to be granted access to trials by seating in the gallery, or where that is not possible,

to simulcast court proceedings to overflow rooms. Defendants respectfully state that there is no

reason to depart from that established procedure in this case and that an unfettered livestream

broadcast would turn the trial into a media frenzy, and would consequently interfere with

Defendants’ Sixth Amendment right to a fair trial. Defendants believe that the two overflow

rooms would provide adequate public access. Additional access via Zoom is unnecessary and, in

fact, will be harmful to the integrity of the judicial process.

         The Supreme Court has recognized that “even when a right of access attaches, it is not

absolute.” Press-Enter. Co. v. Superior Ct. of California for Riverside Cty., 478 U.S. 1, 9-10

(1986). “While open criminal proceedings give assurances of fairness to both the public and the

accused, there are some limited circumstances in which the right of the accused to a fair trial

might be undermined by publicity.” Id. In an earlier case, the Court held that one of these

limited circumstances existed when a trial was broadcast on television. See Estes v. State of Tex.,
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381 U.S. 532 (1965) (holding that defendant was deprived of due process by the televising of his

heavily publicized criminal trial). Technology has come a long way since the Court’s decision in

Estes, but the concerns hold true. Allowing public access to the trial proceedings via Zoom is

the modern equivalent of broadcasting the trial on television. The publicity resulting from such a

livestream would undermine the integrity of the judicial process. See Estes, 381 U.S. at 561

(Warren, J. concurring) (“[T]he courtroom . . . is more than a location with seats for a judge,

jury, witnesses, defendant, prosecutor, defense counsel and public observers; the setting that the

courtroom provides is itself an important element in the constitutional conception of trial,

contributing a dignity essential to ‘the integrity of the trial’ process.”).

        An unfettered broadcast goes well beyond the access to which the public is entitled. See

Westmoreland v. Columbia Broad. Sys., Inc., 752 F.2d 16, 23 (2d Cir. 1984) (“There is a long

leap…between a public right under the First Amendment to attend trials and a public right under

the First Amendment to see a given trial televised. It is a leap that is not supported by history.”).

The risks associated with such a broadcast are far too great. Specifically, Defendants fear that an

open broadcast would impede their rights to a fair trial for the following reasons:

        First, a live broadcast impacts jurors. The jurors will be exposed to an onslaught of

media coverage greater than that which would normally surround a trial, making the media’s

influence more difficult to avoid. While there is always some risk that jurors will receive outside

influence, that risk is amplified when trial coverage is widely available. “To increase the

possibility of influence and the danger of a ‘popular verdict’ by subjecting the jurors to the view

of a mass audience whose approach to the case has been conditioned by pretrial publicity can

only make a bad situation worse. The entire thrust of rules of evidence and the other protections

attendant upon the modern trial is to keep extraneous influences out of the courtroom.” Estes,



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381 U.S. at 592 (Harlan, J. concurring). In the age of social media, it is more important than

ever that the Court protect the integrity of the process by doing everything it can to limit

extraneous influence.

       Second, a live broadcast would make it more difficult for the Court to enforce witness

sequestration. If Zoom access is widely available, a witness could easily gain access using

information belonging to a friend or family member. By contrast, if public access is available

only in physical courtrooms, the Court can easily ensure that no witness is breaching a

sequestration order.

       Third, a live broadcast may chill witnesses’ willingness to testify. Moreover, even those

witnesses who do testify will likely be influenced by the knowledge that they have a nationwide

live audience. See Estes, 381 U.S. at 569-70 (stating that studies show that “awareness that a

trial is being televised to a vast, but unseen audience, is bound to increase nervousness and

tension, cause an increased concern about appearances, and bring to the surface latent

opportunism that the traditional dignity of the courtroom would discourage”) (Warren, J.

concurring). As Justice Harlan recognized in his concurrence in Estes:

       In the context of a trial of intense public interest, there is certainly a strong
       possibility that the timid or reluctant witness, for whom a court appearance even at
       its traditional best is a harrowing affair, will become more timid or reluctant when
       he finds that he will also be appearing before a “hidden audience” of unknown but
       large dimensions. There is certainly a strong possibility that the “cocky” witness
       having a thirst for the limelight will become more “cocky” under the influence of
       television. And who can say that the juror who is gratified by having been chosen
       for a front-line case, an ambitious prosecutor, a publicity-minded defense counsel,
       and even a conscientious judge will not stray, albeit unconsciously, from doing
       what “comes naturally” into pluming themselves for a satisfactory television
       “performance”?

381 U.S. at 591.




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       Fourth, access via Zoom will make it impossible for the Court to enforce the rules

against photographing or videotaping the proceedings. In this high-profile case, a large number

of public viewers—potentially thousands—can be expected to log on for viewing on any given

day. It is not unreasonable to think that some member of the public might decide to capture the

proceedings on their phone, to broadcast even more widely. The Court would have no way to

monitor and enforce these rules against an unseen audience.

       For all of these reasons, Defendants respectfully request that the Court permit public

access to the trial only in the physical courtroom and overflow rooms and decline access via

Zoom in order to ensure that the trial is “conducted with dignity and integrity so as to shield the

trial process itself from these irrelevant external factors, rather than to aggravate them.” Estes,

381 U.S. at 562 (Warren, J. concurring).



 Dated: August 30, 2021                           Respectfully submitted,

                                                  GAMAL ABDELAZIZ

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                        LOCAL RULE 7.1(A)(2) CERTIFICATION

      I hereby certify that counsel for the defendants conferred with counsel for the
government in an attempt to resolve or narrow the issues raised by this motion. The
government takes no position on this motion.

                                                           /s/ Brian T. Kelly
                                                           Brian T. Kelly



                               CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing was filed electronically on August 30,
2021, and thereby delivered by electronic means to all registered participants as identified on
the Notice of Electronic Filing.

                                                           /s/ Brian T. Kelly
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